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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                   HARTFORD DIVISION


    In re:                                             Chapter 11

    THE NORWICH ROMAN CATHOLIC                         Case No: 21-20687 (JJT)
    DIOCESAN CORPORATION,1
                                                       November 15, 2021
                           Debtor.
                                                       Objections Due: Dec. 6, 2021 at 4:00 p.m.


     SECOND MONTHLY STATEMENT OF GLASSRATNER ADVISORY & CAPITAL
      GROUP LLC DBA B. RILEY ADVISORY SERVICES FOR INTERIM MONTHLY
       COMPENSATION AND REIMBURSEMENT OF EXPENSES AS FINANCIAL
                          ADVISOR TO THE DEBTOR
              FROM OCTOBER 1, 2021 THROUGH OCTOBER 31, 2021


Name of Retained Professional:                     GlassRatner Advisory & Capital Group LLC
                                                   dba B. Riley Advisory Services

Party Represented:                                 Debtor

Date of Retention:                                 Effective July 15, 2021

Period for which compensation
and reimbursement is sought:                       October 1, 2021 through October 31, 2021

Amount of compensation sought:                     $30,752.75 (70% of $43,932.50)
Amount of expenses sought:                         $0.60

Total interim payment sought                       $30,753.35

This is a(n): x_ monthly statement ___ interim application ___ final application.




1
 The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, a/k/a The Roman Catholic
Diocese of Norwich. The last four digits of the Debtor’s federal tax identification number are 7373.
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                          COMPENSATION BY TASK CODE


Project Category                                                    Total           Total Fees
                                                                    Hours              ($)

(05) Business Operations                                                    9.20        3,634.00
(06) Case Administration                                                    3.20        1,513.50
(10) Employment and Fee Application (Firm)                                 16.90        6,608.50
(29) Business Analysis                                                     82.40       32,176.50
TOTAL:                                                                    111.70     $ 43,932.50


                        COMPENSATION BY TIMEKEEPER


Timekeeper          Position/Title    Bar            Rate       Hours              Amount
                                      Admission
                                      and Practice
                                      Group

Wayne P. Weitz      Sr Managing       N/A             $675.00           9.60           $6,480.00
                    Director
Todd Beresin        Managing          N/A              395.00       48.70              19,236.50
                    Director
Steven Prager       Associate         N/A              350.00       50.60              17,710.00
                    Director
Irene Byela         Senior            N/A              295.00           0.80              236.00
                    Associate
Faryl Freeman       Administration    N/A              135.00            2.0              270.00

TOTAL:                                                             111.70             $43,932.50
BLENDED RATE:                                         $393.31


                                 EXPENSE SUMMARY

    Expense Category                 Service Provider (if applicable)          Total Expenses
PACER Charges                                                                             $0.60

TOTAL:                                                                                    $ 0.60




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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                     HARTFORD DIVISION


    In re:                                             Chapter 11

    THE NORWICH ROMAN CATHOLIC                         Case No: 21-20687 (JJT)
    DIOCESAN CORPORATION,2
                                                       November 15, 2021
                             Debtor.


                         STATEMENT OF NO OBJECTION BY DEBTOR’S
                            REPRESENTATIVE KAREN L. HUFFER


             Karen L. Huffer, on behalf of the Debtor in the above-captioned case, hereby states:

             1.     I am a duly authorized representative of The Norwich Roman Catholic Diocesan

Corporation, a/k/a The Roman Catholic Diocese of Norwich.

             2.     I have reviewed the Second Monthly Statement of GlassRatner Advisory &

Capital Group LLC dba B. Riley Advisory Services for Interim Monthly Compensation and

Reimbursement of Expenses as Financial Advisor to the Debtor from October 1, 2021 through

October 31, 2021 and do not object to the fees and expenses set forth therein.

             November 15, 2021

                                                            /s/ Karen L. Huffer

                                                            Karen L. Huffer




2
 The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, a/k/a The Roman Catholic
Diocese of Norwich. The last four digits of the Debtor’s federal tax identification number are 7373.
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                                             GlassRatner Advisory & Capital Group LLC
                                                   dba B. Riley Advisory Services

                                               Detailed Entries by Category by Date
                                               October 1, 2021 - October 31, 2021

(05) Business Operations                                                                                                       9.2
     13-Oct      Todd Beresin, CPA           Prepare journal entries for July brokerage accounts and reconcile to trial        2.0
                                             balance
    15-Oct       Todd Beresin, CPA           Prepare September journal entries for Morgan Stanley brokerage accounts           1.2

    15-Oct       Todd Beresin, CPA           Prepare August journal entries for Morgan Stanley brokerage accounts              1.1

    15-Oct       Todd Beresin, CPA           Prepare September journal entries for Janney brokerage accounts                   1.4
    15-Oct       Todd Beresin, CPA           Prepare August journal entries for Janney brokerage accounts                      1.5
    18-Oct       Todd Beresin, CPA           Reconcile July, August and September journal entries to GL to ensure that         2.0
                                             brokerage account balances tie to statements


(06) Case Administration                                                                                                       3.2
     15-Oct      Steven Prager, CVA          Call with counsel and K. Huffer re: 2004 examination                              0.8
     15-Oct      Todd Beresin, CPA           Call with counsel and K. Huffer re: 2004 examination                              0.8
     15-Oct      Wayne P. Weitz              Call with counsel and K. Huffer re: 2004 examination                              0.8
     18-Oct      Steven Prager, CVA          Outlined interim fee application procedures                                       0.5
     20-Oct      Wayne P. Weitz              Review interim compensation order                                                 0.3


(10) Employment and Fee Application (Firm)                                                                                   16.9
     14-Oct     Wayne P. Weitz               Email corr counsel re: bar date notice                                           0.2
     15-Oct     Steven Prager, CVA           Call with counsel re: interim fee applications                                   0.3
     15-Oct     Wayne P. Weitz               Call with counsel re: interim fee applications                                   0.3
     18-Oct     Wayne P. Weitz               Review billing entries                                                           0.5
     21-Oct     Steven Prager, CVA           Review and categorize time entries for interim fee application                   2.3
     26-Oct     Steven Prager, CVA           Prepare monthly fee statement                                                    2.2
     26-Oct     Steven Prager, CVA           Prepare monthly fee statement                                                    1.3
     27-Oct     Faryl Freeman, CPA           Review slip entries 7.16.21-9.30.21                                              2.0
     27-Oct     Steven Prager, CVA           Prepare monthly fee statement                                                    1.2
     27-Oct     Steven Prager, CVA           Prepare monthly fee statement                                                    0.8
     27-Oct     Todd Beresin, CPA            Review of slip entries September 2021                                            1.2
     27-Oct     Todd Beresin, CPA            Review slip entries Aug 2021                                                     1.6
     29-Oct     Steven Prager, CVA           Call with W. Weitz, T. Beresin, S. Prager and K. Huffer to review monthly fee    0.5
                                             statement
    29-Oct       Todd Beresin, CPA           Call with W. Weitz, T. Beresin, S. Prager and K. Huffer re: monthly fee           0.5
                                             statement
    29-Oct       Wayne P. Weitz              Review/edit fee statement and underlying descriptions; corr counsel re:           1.5
                                             same
    29-Oct       Wayne P. Weitz              Call with W. Weitz, T. Beresin, S. Prager and K. Huffer re: monthly fee           0.5
                                             statement




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                                        GlassRatner Advisory & Capital Group LLC
                                              dba B. Riley Advisory Services

                                          Detailed Entries by Category by Date
                                          October 1, 2021 - October 31, 2021

(29) Business Analysis                                                                                                 82.4
     1-Oct        Steven Prager, CVA    Quality control review of receipts and disbursement analysis                    2.0
     1-Oct        Steven Prager, CVA    Quality control review of receipts and disbursement analysis                    1.5
     1-Oct        Steven Prager, CVA    Prepare receipts and disbursement analysis of medical and insurance             1.5
                                        programs
    1-Oct        Steven Prager, CVA     Analyze QuickBooks disbursements January 2021 - April 2021                        1.5
    1-Oct        Steven Prager, CVA     Analyze QuickBooks disbursements May 2021 - August 2021                           1.0
    1-Oct        Todd Beresin, CPA      Summarize receipts and disbursements analysis 2021 YTD and review                 1.7
                                        medical reimbursement by entity, depository account receipts by entity

    1-Oct        Todd Beresin, CPA      Summarize receipts and disbursements analysis 2021 YTD and prepare                1.5
                                        analysis of January - July medical premiums by entity
    4-Oct        Steven Prager, CVA     Call with W. Weitz, T. Beresin, and S. Prager re: receipts and disbursements      0.5
                                        report for the UCC
    4-Oct        Steven Prager, CVA     Prepare receipts and disbursement analysis of non-debtor entities by              2.5
                                        location
    4-Oct        Steven Prager, CVA     Prepare receipts and disbursement analysis of non-debtor entities by              2.0
                                        location
    4-Oct        Todd Beresin, CPA      Call with W. Weitz, T. Beresin, and S. Prager re: receipts and disbursements      0.5
                                        report for the UCC
    4-Oct        Todd Beresin, CPA      Analyze receipts and disbursements by location 2020 YTD - workers'                2.0
                                        compensation, auto and general liability and property insurance

    4-Oct        Todd Beresin, CPA      Analyze receipts and disbursements by location 2021 YTD - QuickBooks              0.9
                                        charges
    4-Oct        Wayne P. Weitz         Call with W. Weitz, T. Beresin, and S. Prager re: receipts and disbursements      0.5
                                        report for the UCC
    5-Oct        Steven Prager, CVA     Call with Counsel re: cash receipts and disbursements report for the UCC          0.5

    5-Oct        Steven Prager, CVA     Call with T. Beresin, S. Prager and K. Huffer re: cash receipts and               0.8
                                        disbursements report for the UCC
    5-Oct        Steven Prager, CVA     Call with T. Beresin and S. Prager re: January - August 2021 receipts and         0.5
                                        disbursements analysis
    5-Oct        Steven Prager, CVA     Prepare receipts and disbursement analysis of non-debtor entities by              2.5
                                        location
    5-Oct        Steven Prager, CVA     Prepare receipts and disbursement analysis of non-debtor entities by              1.5
                                        location
    5-Oct        Todd Beresin, CPA      Call with counsel re: cash receipts and disbursements report for the UCC          0.5

    5-Oct        Todd Beresin, CPA      Call with T. Beresin, S. Prager and K. Huffer re: cash receipts and               0.8
                                        disbursements report for the UCC
    5-Oct        Todd Beresin, CPA      Call with T. Beresin and S. Prager re: January - August receipts and              0.5
                                        disbursements analysis
    5-Oct        Todd Beresin, CPA      Call with W. Weitz and T. Beresin to review receipts and disbursements by         0.2
                                        entity analysis for 2021
    5-Oct        Todd Beresin, CPA      Review and update receipts and disbursements analysis by location for Jan -       2.0
                                        Aug 2021
    5-Oct        Todd Beresin, CPA      Analyze receipts and disbursements of merged parishes by location 2021 ytd        1.7




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                               GlassRatner Advisory & Capital Group LLC
                                     dba B. Riley Advisory Services

                                 Detailed Entries by Category by Date
                                 October 1, 2021 - October 31, 2021

5-Oct    Wayne P. Weitz        Call with W. Weitz and T. Beresin to review receipts and disbursements by          0.2
                               entity analysis for 2021
5-Oct    Wayne P. Weitz        Meeting with W. Weitz and T. Beresin to review analysis of receipts and            0.2
                               disbursements by entity for 2021
5-Oct    Wayne P. Weitz        Call with counsel re: discovery issues                                             0.5
5-Oct    Wayne P. Weitz        Call with counsel re: cash receipts and disbursements report for the UCC           0.5

5-Oct    Wayne P. Weitz        Review pass-through analysis with T. Beresin                                       0.3
6-Oct    Steven Prager, CVA    Prepare September MOR                                                              2.3
6-Oct    Steven Prager, CVA    Prepare September MOR                                                              1.7
6-Oct    Todd Beresin, CPA     Prepare September MOR and analyze receipts in deposit account                      1.8
6-Oct    Todd Beresin, CPA     Prepare September MOR and review September brokerage statements for                1.4
                               dividends, interests, realized/unrealized gains
6-Oct    Todd Beresin, CPA     Prepare September MOR and review activity for medical acct, debit card             1.2
                               acct, payroll acct
6-Oct    Todd Beresin, CPA     Prepare September MOR prep and analyze general fund disbursements                  1.7

7-Oct    Steven Prager, CVA    Prepare September MOR                                                              2.0
7-Oct    Steven Prager, CVA    Prepare September MOR                                                              1.0
7-Oct    Todd Beresin, CPA     Prepare September MOR - general fund disbursements review                          1.9
7-Oct    Todd Beresin, CPA     Prepare September MOR - allocate September medical and dental premium              1.2
                               payments to locations
8-Oct    Steven Prager, CVA    Prepare September MOR                                                              2.0
8-Oct    Steven Prager, CVA    Call with T. Beresin, S. Prager and K. Huffer re: September MOR                    0.2
8-Oct    Steven Prager, CVA    Analyze cash receipts and disbursements by entity for UCC monthly report           0.4

8-Oct    Steven Prager, CVA    Prepare monthly cash receipts and disbursements report for UCC                     0.9
8-Oct    Steven Prager, CVA    Prepare September MOR                                                              1.1
8-Oct    Todd Beresin, CPA     Call with T. Beresin, S. Prager and K. Huffer re: September MOR                    0.2
8-Oct    Todd Beresin, CPA     Analyze cash receipts and disbursements by entity for UCC monthly report           0.4

8-Oct    Todd Beresin, CPA     Prepare schedule of September 2021 receipts and disbursements by location          2.0

11-Oct   Todd Beresin, CPA     Prepare September MOR                                                              1.4
11-Oct   Todd Beresin, CPA     Prepare schedule of receipts and disbursements by entity                           2.5
12-Oct   Steven Prager, CVA    Quality control review of cash receipts and disbursements analysis                 1.5
12-Oct   Steven Prager, CVA    Call with W. Weitz, T. Beresin and S. Prager re: September MOR                     0.9
12-Oct   Todd Beresin, CPA     Prepare 9.30.21 consolidated AR aging analysis                                     1.7
12-Oct   Todd Beresin, CPA     Call with W. Weitz, T. Beresin and S. Prager re: September MOR                     0.9
12-Oct   Wayne P. Weitz        Call with W. Weitz, T. Beresin and S. Prager re: September MOR                     0.9
13-Oct   Irene Byela           Redact September 2021 bank statements for filing with MOR                          0.8
13-Oct   Todd Beresin, CPA     Prepare 9.30.21 accounts receivable aging for medical account                      1.8
13-Oct   Todd Beresin, CPA     Review September MOR                                                               0.6
14-Oct   Steven Prager, CVA    Call with T. Beresin, S. Prager and K. Huffer re: September MOR                    0.5
14-Oct   Steven Prager, CVA    Call with T. Beresin and S. Prager re: monthly UCC reports                         0.2
14-Oct   Todd Beresin, CPA     Call with T. Beresin, S. Prager and K. Huffer re: September MOR                    0.5
14-Oct   Todd Beresin, CPA     Call with T. Beresin and S. Prager re: monthly UCC reports                         0.2
15-Oct   Todd Beresin, CPA     Call with counsel re: interim fee applications                                     0.3
15-Oct   Wayne P. Weitz        Review of and email corr re: September MOR                                         1.4
21-Oct   Steven Prager, CVA    Prepare monthly debtor cash flow forecast                                          1.6



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                               GlassRatner Advisory & Capital Group LLC
                                     dba B. Riley Advisory Services

                                 Detailed Entries by Category by Date
                                 October 1, 2021 - October 31, 2021

21-Oct   Steven Prager, CVA    Prepare monthly debtor cash flow forecast                                          2.2
22-Oct   Steven Prager, CVA    Prepared monthly Debtor cash flow forecast                                         2.3
22-Oct   Steven Prager, CVA    Call with T. Beresin and S. Prager re: Debtor monthly cash flow forecast           0.5

22-Oct   Todd Beresin, CPA     Call with T. Beresin and S. Prager re: Debtor monthly cash flow forecast           0.5

26-Oct   Steven Prager, CVA    Call with T. Beresin, S. Prager and K. Huffer re: monthly cash flow forecast       0.3

26-Oct   Todd Beresin, CPA     Call with W. Weitz re: cash flow projection                                        0.4
26-Oct   Todd Beresin, CPA     Call with T. Beresin and S. Prager re: Debtor monthly cash flow forecast           0.3

26-Oct   Wayne P. Weitz        Call with T. Beresin re: cash flow projection                                      0.4
26-Oct   Wayne P. Weitz        Email corr with counsel re: certain real estate leases                             0.3
27-Oct   Steven Prager, CVA    Review monthly cash flow forecast with W. Weitz                                    0.3
27-Oct   Steven Prager, CVA    Call with W. Weitz to review of monthly cash flow forecast                         0.3
27-Oct   Wayne P. Weitz        Call with S. Prager to review of monthly cash flow forecast                        0.3
28-Oct   Steven Prager, CVA    Prepare monthly cash flow forecast with T. Beresin                                 0.2
28-Oct   Todd Beresin, CPA     Prepare monthly cash flow forecast with S. Prager                                  0.2

                               TOTAL HOURS                                                                    111.7




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